                                 UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW MEXICO

IN RE:

DONALD EDWARD WESTERBUR
MARYANN WESTERBUR
fdba A Bit of Everything

                  Debtors.                                      Case No. 7-18-11798-TL

                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                     AND FOR THE ABANDONMENT OF PROPERTY BY
                    NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER

         COMES NOW Nationstar Mortgage LLC D/B/A Mr. Cooper (“Nationstar”), by and

through its attorneys, Rose L. Brand & Associates, P.C. (Andrew Yarrington), and requests the

Court for the entry of an Order lifting the automatic stay and abandoning certain real property.

As grounds therefore, the Movant, states:

         1.       This Court has exclusive jurisdiction over this proceeding pursuant to 28 U.S.C.

§ 1334 and 28 U.S.C. § 157.

         2.       This Court has proper venue over this proceeding pursuant to 28 U.S.C. § 1409.

         3.       The Debtors, Donald Edward Westerbur and Maryann Westerbur, filed a

voluntary Chapter 7 bankruptcy petition on July 19, 2018.

         4.       Philip J. Montoya is the Chapter 7 Trustee assigned in this bankruptcy case.

         5.       The Debtors executed a Note (the “Note”), dated November 10, 2012, in the

amount of $57,444.00, plus interest at the rate of 4.75000% per annum. See Exhibit A.

         6.       As security for the Note, the Debtors gave a Deed of Trust, dated November 10,

2012, on the property located at 2311 Tulane Ave, Alamogordo, New Mexico 88310 (the

“Property”), which was duly recorded at the Otero County Clerk’s office on November 26, 2012,

as Document No. 201209832. See Exhibit B. The Property, which is all the collateral listed in



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the Deed of Trust, is more fully and particularly described as:

                  Lot Seven (7), Block Four Hundred Eight (408), Dyer Subdivision,
                  Alamogordo, Otero County, New Mexico.

         including any improvements, fixtures, and attachments, such as, but not limited to,

mobile homes. If there is a conflict between the Property’s legal description and the street

address, the legal description shall control.

         7.       Nationstar is the holder of the Note through possession and the Deed of Trust

 through assignment. The Mortgage was assigned to Nationstar Mortgage LLC D/B/A Mr.

 Cooper through a Corporate Assignment of Mortgage dated February 16, 2018, and recorded on

 February 27, 2018, as Document No. 201801845, in the records of Otero County. A true and

 correct copy of said Assignment is attached as Exhibit C. Nationstar is entitled to enforce said

 documents.

         8.       Nationstar claims a valid lien on the Property as described in the Deed of Trust.

The Debtors are in default under the terms of the Note and Deed of Trust for amounts due there

upon.

         9.       As of July 23, 2018, the payment arrears for contractual amounts due are

$6,115.95, representing non-payment from June 1, 2017, through July 1, 2018, which includes

five (5) payments of $376.04 each, plus four (4) payments of $483.95 each, plus five (5)

payments of $459.99 each, for a total of fourteen (14) missed or insufficient payments in all.

         10.      As of July 23, 2018, the total arrears due are $10,890.56. The total arrears due

include the following amounts:

            Payment Arrears                                           $6,115.95
            Recoverable Fees Due                                      $4,774.61
            TOTAL ARREARS                                             $10,890.56
*in addition to interest, fees and costs continuing to accrue after the date this Motion’s filing.




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         11.      As of July 23, 2018, the total debt obligation under the Note and secured through

the Deed of Trust is $61,126.81. The total debt amount includes the following:

                Principal Balance                                      $51,947.07
                Interest from May 1, 2017, to and including
                July 23, 2018 accrued at the rate of 4.75000%          $3,027.41
                Escrow Advances                                        $1,377.72
                Recoverable Fees Due                                   $4,774.61
                TOTAL DEBT                                             $61,126.81

         12.      The Property may also be encumbered by other liens which may exceed the fair

market value of the Property.

         13.      The Debtors have not requested, executed or filed a Reaffirmation Agreement on

the subject debt, and upon information and belief may not intend to cure the default on the Note

and Deed of Trust. Per the Debtors’ statement of intention, the Debtors intend to surrender the

Property.

         14.      Nationstar is not adequately protected.

         15.      The Debtors may have no equity in the Property and cannot offer any adequate

protection, and the Property is not necessary for an effective reorganization. Per the Debtors’

Schedule A, the Property is worth $51,947.07.

         16.      The Property may be burdensome to the bankruptcy estate and may be of no

consequential value and benefit to the estate.

         17.      To the extent that Nationstar has paid for insurance coverage on the Property and

in the event the stay is lifted, it is entitled to apply any insurance premium refunds to the

outstanding loan balance.

         18.      Concurrence of Debtors' counsel was sought and obtained.

         WHEREFORE, Nationstar respectfully requests the Court enter an Order:

         A.       Lifting the automatic stay of 11 U.S.C. § 362(a) and abandoning the Property



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pursuant to 11. U.S.C. § 554, thereby permitting Nationstar to exercise the rights and remedies it

is afforded under the Note and Deed of Trust, including but not limited to the right to foreclose

against the Property pursuant to State Law;

         B.       Waiving the fourteen day stay of the Order as provided by Fed. R. Bankr. P.

4001(a)(3).

         C.       Granting any other relief the Court deems just and proper.



                                                       ROSE L. BRAND & ASSOCIATES, P.C.

                                                       By /s/Andrew P. Yarrington
                                                          ANDREW YARRINGTON
                                                          Attorney for Mr. Cooper
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                                                          Albuquerque, NM 87109
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                                                          Andrew.Yarrington@roselbrand.com


I hereby certify that a copy of the foregoing pleading was sent via CM/ECF Filer automatic e-
mail notification to the US Trustee and any party who filed a Request for Notice with the Court
for electronic notification, in addition to the Attorney and Trustee listed below, and mailed by
first class mailing, postage prepaid, to the Debtors listed below:

Kenneth G Egan                           Philip J. Montoya             Donald Edward Westerbur
Attorney for Debtors                     Chapter 7 Trustee             Maryann Westerbur
1111 E Lohman                            1122 Central Ave SW Ste #3    Debtors
Las Cruces, NM 88001-3268                Albuquerque, NM 87102         5980 Hwy 54 S Unit 3271
Telephone: 575-523-2222                  Telephone: (505) 244-1152     Alamogordo, NM 88311
bk_egan@yahoo.com



on this 9th day of August, 2018.

/s/ Mitchell Billings_______________
MITCHELL BILLINGS, Paralegal 




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